       Case 4:14-cv-00581 Document 1 Filed on 03/10/14 in TXSD Page 1 of 4




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SHEILA ROBINSON,                                  § No. 4:14-cv-581
                                                  §
  Plaintiff,                                      §
                                                  §
  v.                                              §
                                                  §
GC SERVICES, LP,                                  §
                                                  §
  Defendant.                                      §
                                                  §

                                 PLAINTIFF’S COMPLAINT

       SHEILA ROBINSON (Plaintiff), through her attorneys, KROHN & MOSS, LTD.,

       alleges the following against GC SERVICES, LP (Defendant):

                                       INTRODUCTION

  1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

       seq. (FDCPA).

  2. Defendant acted through its agents, employees, officers, members, directors, heirs,

       successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                JURISDICTION AND VENUE

  3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court

       without regard to the amount in controversy.”

  4. Defendant conducts business in the state of Texas, and therefore, personal jurisdiction is

       established.

  5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                   PLAINTIFF’S COMPLAINT                                            1
  Case 4:14-cv-00581 Document 1 Filed on 03/10/14 in TXSD Page 2 of 4




                                        PARTIES

6. Plaintiff is a natural person residing in Newark, New Castle County, Delaware.

7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8. Defendant is an alleged debt collector as that term is defined by 15 U.S.C. 1692a(6), and

   sought to collect a consumer debt from Plaintiff.

9. Defendant is a national debt collection company with its main office located in Houston,

   Texas and it conducts business in Texas.

                             FACTUAL ALLEGATIONS

10. Defendant places collection calls to Plaintiff seeking and demanding payment for an

   alleged debt.

11. Plaintiff's alleged debt arises from transactions for personal, family, and household

   purposes.

12. In or around January of 2014, Defendant placed collection calls to Plaintiff seeking and

   demanding payment for an alleged consumer debt.

13. Defendant called Plaintiff's telephone number at 302-838-11XX.

14. In or around January of 2014, Defendant called Plaintiff’s telephone at 302-838-11XX

   and left a voicemail message.

15. In the voicemail message, Defendant’s representative, “Carlos,” failed to disclose the

   name of the company placing the call, failed to state the nature of the call, and failed to

   disclose that the call was from a debt collector. See Transcribed Voicemail Message

   attached hereto as Exhibit A.
                               PLAINTIFF’S COMPLAINT                                             2
  Case 4:14-cv-00581 Document 1 Filed on 03/10/14 in TXSD Page 3 of 4




16. In the voicemail message, Defendant directed Plaintiff to call back telephone number

   866-391-0768, extension 5065, which is a number that belongs to Defendant. See

   transcribed voicemail message attached hereto as Exhibit A.

17. Defendant is using false, deceptive and misleading means in connection with attempting

   to collect a debt by not identifying the purpose of its phone calls or that they are an

   attempt to collect a debt.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

18. Defendant violated the FDCPA based on the following:

       1. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

           consequence of which is to harass, oppress, or abuse Plaintiff;

       2. Defendant violated §1692d(6) of the FDCPA when Defendant placed telephone calls

           without meaningful disclosure of the caller’s identity; and

       3. Defendant violated §1692e of the FDCPA by using false, deceptive, and misleading

           representations in connection with the collection of any debt.

       4. Defendant violated §1692e(11) of the FDCPA by failing to disclose in subsequent

           communications that the communication was from a debt collector.

   WHEREFORE, Plaintiff, SHEILA ROBINSON, respectfully requests judgment be

   entered against Defendant, GC SERVICES, LP, for the following:

19. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

   U.S.C. 1692k,

20. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

   U.S.C. 1692k

                                PLAINTIFF’S COMPLAINT                                         3
  Case 4:14-cv-00581 Document 1 Filed on 03/10/14 in TXSD Page 4 of 4




21. Any other relief that this Honorable Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

   Dated: March 10, 2014                        By:/s/ Ryan S. Lee
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                              PLAINTIFF’S COMPLAINT                                 4
